                                           Case 5:22-cv-00805-SVK Document 8 Filed 02/09/22 Page 1 of 2




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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                        SCOTT JOHNSON,
                                   7                                                        Case No. 22-cv-00805-SVK
                                                        Plaintiff,
                                   8
                                                v.                                          SCHEDULING ORDER FOR CASES
                                   9                                                        ASSERTING DENIAL OF RIGHT OF
                                        MARIANA ROJAS LEON,                                 ACCESS UNDER AMERICANS WITH
                                  10                                                        DISABILITIES ACT TITLE II & III
                                                        Defendant.                          (42 U.S.C. §§ 12131- 89)
                                  11

                                  12
Northern District of California
 United States District Court




                                  13           IT IS HEREBY ORDERED that this action is assigned to the Honorable Susan van

                                  14   Keulen. When serving the complaint or notice of removal, the plaintiff or removing defendant

                                  15   must serve on all other parties a copy of this order and the assigned judge’s pertinent Standing

                                  16   Orders. This case is otherwise exempt from Civil Local Rule 4-2. Counsel must comply with the

                                  17   case schedule listed below unless the Court otherwise orders.

                                  18

                                  19                                            CASE SCHEDULE

                                  20    Date             Event                                                       Governing Rule

                                  21    2/8/2022         Complaint Filed

                                  22    60 days after    Last day for plaintiff to complete service on defendants    General Order 56 ¶1;
                                        Complaint        or file motion for administrative relief from deadline      Civil L.R.7-11
                                  23    Filed

                                  24    7 days before Last day for parties to complete initial disclosures           F.R. Civ. P. 26(a);
                                        Joint Site                                                                   General Order 56 ¶4
                                  25    Inspection

                                  26    60 days after    Last day for parties and counsel to hold joint inspection   General Order 56 ¶7
                                        service of       of premises
                                  27    complaint
                                  28
                                          Case 5:22-cv-00805-SVK Document 8 Filed 02/09/22 Page 2 of 2




                                   1   35 days after   Last day for parties to meet and confer in person to    General Order 56 ¶8
                                       Joint Site      discuss settlement
                                   2   Inspection

                                   3
                                       42 days after   Last day for parties to file Notice of Need for         General Order 56 ¶9
                                   4   Joint Site      Mediation and Certification of Counsel OR Notice of
                                       Inspection or   Settlement of ADA Access Case
                                       Settlement
                                   5
                                       Meeting,        (available on Court’s website)
                                   6   whichever
                                       occurs first
                                   7                   Last day for plaintiff to file Notice Requesting Case
                                       7 days after                                                            General Order 56 ¶10;
                                       mediator        Management Conference
                                   8                                                                           Civil L.R . 7-11
                                       files
                                   9   Certification
                                       of ADR
                                  10   Session
                                       certifying
                                  11   mediation
                                       process is
                                  12   concluded
Northern District of California
 United States District Court




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